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     and the Classes
11
                           UNITED STATES DISTRICT COURT
12
           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
13
14
15   Bryce Abbink, individually and on             Case No.
16   behalf of all others similarly situated,

17                              Plaintiff,         CLASS ACTION COMPLAINT
18
     v.
19                                                 JURY TRIAL DEMANDED
20   Experian Information Solutions, Inc.,
     an Ohio corporation, Lend Tech
21   Loans, Inc., a California corporation,
22   and Unified Document Services, LLC,
     a California Limited Liability
23   Company,
24
                                Defendant.
25
26         Plaintiff Bryce Abbink (“Plaintiff” or “Abbink”) brings this class action
27   complaint against Defendants Experian Information Solutions, Inc. (“Experian”),
28   Lend Tech Loans, Inc. (“Lend Tech Loans”), and Unified Document Services, LLC

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 1   (“UDS”) (collectively “Defendants”) to obtain redress for, and to put an end to,
 2   Defendants’ serial violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681, et
 3   seq. (“FCRA” or “Act”). Specifically, Plaintiff files the instant lawsuit to put an end
 4   to: (1) Experian’s practice of providing consumer reports to persons who have no
 5   permissible purpose for obtaining them, (2) Lend Tech Loans’ practice of procuring
 6   consumer reports absent any permissible purpose and then reselling those reports to
 7   persons with no permissible purpose, (3) UDS’s practice of procuring consumer
 8   reports absent any permissible purpose, utilizing the reports to solicit consumers to
 9   purchase its services, and failing to provide a proper Opt-Out Notice, and (4) to
10   obtain redress for all individuals injured by the Defendants’ separate and collective
11   conduct. Plaintiff, for his Class Action Complaint, alleges as follows upon personal
12   knowledge as to himself and his own acts and experiences, and, as to all other
13   matters, upon information and belief, including investigation conducted by his
14   attorneys.
15                               NATURE OF THE ACTION
16         1.     Enacted to promote the accuracy, fairness, and privacy of consumer
17   information contained in the files of consumer reporting agencies, the FCRA
18   explicitly protects consumers from disclosure of their personal information contained
19   in their consumer reports. To that end, a consumer reporting agency may only
20   provide a consumer report to persons who have a permissible purpose. Further,
21   persons intending to procure a consumer report for any purpose must actually
22   possess a permissible purpose for requesting and obtaining the consumer report.
23         2.     Defendant Experian willfully violated the FCRA by: (1) furnishing
24   consumer reports regarding consumers’ personal student loan amounts to Lend Tech
25   Loans absent any permissible purpose, and (2) failing to conduct a reasonable
26   inquiry into Lend Tech Loans and its supposed permissible purpose prior to
27   disclosing consumers’ information.
28
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 1         3.     Defendant Lend Tech Loans willfully violated the FCRA by procuring
 2   consumer reports regarding consumers nationwide absent any permissible purpose,
 3   or for the purpose of reselling their consumer reports to companies who likewise do
 4   not possess a permissible purpose.
 5         4.     Defendant UDS willfully violated the FCRA by: (1) obtaining
 6   consumer reports regarding consumers nationwide absent any permissible purpose,
 7   (2) utilizing the consumer reports to target consumers nationwide to purchase its
 8   document preparation service, and (3) failing to provide consumers with a proper
 9   Opt-Out Notice, which would apprise consumers of the source of their debt-related
10   information and the ability to opt-out of future solicitations.
11         5.     Experian is a major consumer reporting agency. Experian generates a
12   substantial portion of its income by aggregating the data of millions of consumers
13   worldwide and then selling that information to banks, credit card companies, and
14   various other companies that have a permissible purpose. The process is as follows:
15   a company may contact Experian and request that Experian provide it a list of
16   consumers who meet a specific set of criteria. Experian, after conducting a search to
17   ascertain whether the requester has a permissible purpose under the FCRA and
18   concluding that such a permissible purpose indeed exists, will then provide the list,
19   or the requested consumer reports, to the company for a fee.
20         6.     In this case, the Defendants worked together to deprive Plaintiff and the
21   Classes of similarly situated individuals of their privacy rights absent any
22   permissible purpose whatsoever.
23         7.     That is, Experian accepted Lend Tech Loans’ blanket assertion that
24   Lend Tech either had a permissible purpose for obtaining the consumer reports or
25   that it, Lend Tech, would resell the consumer reports to other companies that did. A
26   quick review of Lend Tech Loans and its business practices would have revealed that
27   neither of these suggestions could be true. That is, Lend Tech Loans claims that it is
28   a mortgage lender on its most recent California business filing. However, a search of
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 1   both the National Multistate Licensing System (“NMLS”) as well as the California
 2   Department of Business Oversight license system reveals that Lend Tech Loans does
 3   not possess any license whatsoever to engage in mortgage lending or any financial
 4   service for that matter.
 5         8.     Further, Lend Tech Loans supplied Experian with a nonworking
 6   telephone number and its prior business address rather than the address listed on its
 7   most current California business filing or any working telephone number.
 8         9.     Despite all these red flags, Experian provided Plaintiff’s consumer
 9   report along with the consumer reports of the class members to Lend Tech Loans. In
10   doing so, Experian profited off of the sale of the information.
11         10.    Lend Tech Loans next undertook to distribute the consumer report
12   information that it obtained about Plaintiff and the class members to co-Defendant
13   UDS absent any permissible purpose.
14         11.    UDS, in turn, utilized the consumer reports to direct a solicitation
15   entitled “Student Loan Consolidation & Payment Reduction Program” to Plaintiff
16   and the class members. (See UDS Notice, a true and accurate copy of which is
17   attached hereto as Ex. A.)
18         12.    The UDS Notice informed consumers of their potential eligibility for
19   consolidation of their federal student loans and included the total sum of the federal
20   student loans. (See Ex. A.) Further, the UDS Notice informed recipients that this was
21   their “Final Notice” to consolidate their loans and is written/formatted to appear as
22   though an entity related to or affiliated with the Department of Education had sent
23   the notices. (See Id.) Upon reviewing the fine print, recipients are informed that the
24   UDS Notice is simply a “private, fee-based application assistance to aid consumers
25   applying for government offered programs.” (See Id.)
26         13.    UDS’s “fee-based application assistance” works as follows: The service
27   entails charging consumers a fee to assist them by completing documents and
28   applying for federal student loan programs that consumers may easily apply for
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 1   themselves for free. Notably, the Department of Education warns consumers not to
 2   fall for the deceptive practices of UDS and describes such companies as
 3   “fraudsters.”1 In short, UDS willfully violated the FCRA by procuring consumer
 4   reports absent any permissible purpose and then using the information to facilitate its
 5   questionable business practices.
 6            14.     Further, UDS willfully violated the FCRA by failing to provide a proper
 7   opt-out notice as required by the FCRA.
 8            15.     As a result of Defendants’ willful violations of the FCRA, Plaintiff
 9   Abbink and the members of the Classes were deprived of their privacy rights
10   guaranteed to them by federal law, and they are thus entitled to statutory damages of
11   at least $100 and not more than $1,000 for each willful violation. See 15 U.S.C. §
12   1681n(a)(1)(A).
13                                                PARTIES
14            16.     Plaintiff Abbink is a natural person and citizen of the State of Colorado.
15   He resides in Denver, Denver County, Colorado.
16            17.     Defendant Experian Information Solutions, Inc. is an Ohio corporation
17   with its principal place of business located at 475 Anton Blvd., Costa Mesa,
18   California 92626.
19            18.     Defendant Lend Tech Loans, Inc. is a California corporation with its
20   principal places of business located at 1851 E. First St., #810, Santa Ana, California
21   92705.
22            19.     Defendant Unified Document Services, LLC is a California limited
23   liability company with its principal place of business located at 1560 Brookhollow
24   Dr., Suite 220, Santa Ana, California 92705.
25                                   JURISDICTION AND VENUE
26
27
28   1
         https://studentaid.ed.gov/sa/repay-loans/avoiding-loan-scams
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 1            20.    This Court has subject matter jurisdiction under 28 U.S.C. § 1331
 2   because this action arises under the Fair Credit Reporting Act, 15 U.S.C. § 1681, et
 3   seq., which is a federal statute. Furthermore, jurisdiction is proper under the Class
 4   Action Fairness Act, 28 U.S.C. § 1332(d), et seq. (“CAFA”), because the classes
 5   each consist of over 100 people, at least one member of each class is from a State
 6   other than California (the state of the Defendants), and the amounts in controversy
 7   are over $5,000,000. Further, none of the exceptions to CAFA jurisdiction apply.
 8            21.    This Court has personal jurisdiction over Defendants because they
 9   conduct substantial business in this District, are all headquartered or reside in this
10   District, and the unlawful conduct alleged in the Complaint emanated from this
11   District.
12            22.    Venue is proper in this District under 28 U.S.C. § 1391 because all
13   Defendants reside in this District and a substantial part of the events and omissions
14   giving rise to the claims occurred in or emanated from this District.
15                  FACTS COMMON TO PLAINTIFF AND ALL COUNTS
16            23.    Experian is a consumer reporting agency that collects and aggregates
17   information about consumers world-wide.
18            24.    Lend Tech Loans is a California corporation that supposedly engages in
19   the business of mortgage lending. On information and belief, Lend Tech Loans does
20   not possess any financial license to engage in mortgage lending in the State of
21   California.
22            25.    UDS is a California limited liability company that provides document
23   preparation services for consumers who seek student loans debt consolidation or
24   forgiveness. UDS is not a financial institution, bank, or lender and does not
25   underwrite loans.2
26
27
28   2
         https://www.unifieddocumentservices.com/
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 1            26.     In or around January 2019, Lend Tech Loans submitted a request to
 2   Experian to obtain information contained in Abbink’s consumer report.
 3            27.     On or around January 21, 2019, Experian caused information contained
 4   in Plaintiff Abbink’s consumer report to be released to Lend Tech Loans.
 5            28.     Lend Tech Loans did not have Abbink’s authorization to pull his credit
 6   report nor did Lend Tech Loans have any permissible purpose to request such
 7   information. Further, Lend Tech Loans does not offer consumers any form of credit
 8   or insurance.
 9            29.     For its part, Experian failed to implement reasonable procedures to limit
10   the furnishing of consumer reports for permissible purposes. That is, Experian failed
11   to make a reasonable effort to verify the identity of Lend Tech Loans or to verify the
12   purpose for which Lend Tech Loans intended to use the consumer report regarding
13   Abbink.
14            30.     Rather, Experian accepted the supposed permissible purpose at face
15   value and sold Plaintiff Abbink’s consumer report to Lend Tech Loans without
16   performing any adequate investigation.
17            31.     Shortly thereafter, on information and belief, Lend Tech Loans sold, or
18   otherwise transmitted, Plaintiff Abbink’s consumer report information to UDS.
19            32.     On or around January 25, 2019, UDS mailed Plaintiff Abbink a letter
20   soliciting him to purchase its “fee-based application assistance” service. For a
21   substantial fee, UDS offered to complete documents on behalf of consumers to
22   consolidate their student loans. The services that UDS attempted to solicit Plaintiff to
23   purchase are easily completed online for free via the Department of Education.
24   Unsurprisingly, the Department of Education warns consumers not to fall for the
25   deceptive practices of companies, such as UDS, and describes such outfits as
26   “fraudsters who are after your money.”3
27
28   3
         https://studentaid.ed.gov/sa/repay-loans/avoiding-loan-scams
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 1         33.    UDS had no permissible purpose for obtaining, possessing, or using
 2   Plaintiff’s consumer report.
 3         34.    Because of the failure to provide any possible permissible purpose,
 4   Plaintiff brings this suit, on behalf of himself and those similarly situated, to put an
 5   end to Defendants’ repeated and widespread FCRA violations. Such violations
 6   entitle him, and other similarly situated persons, to statutory damages of not less than
 7   $100 and not more than $1,000 per violation.
 8                            CLASS ACTION ALLEGATIONS
 9         35.    Plaintiff brings this action pursuant to Federal Rule of Civil Procedure
10   Rule 23(b)(3) on behalf of himself and three nationwide Classes defined as follows:
11         Experian Class: All persons in the United States (1) from a date two
           years prior to the filing of the initial complaint in this action to the
12
           date notice is sent to the Experian Class; (2) about whom Experian
13         provided a consumer report; (3) to Lend Tech Loans; (4) where the
           purported permissible purpose for obtaining the consumer report was
14
           the same as the purported permissible purpose that was claimed to
15         obtain Plaintiff’s consumer report.
16         Lend Tech Loans Class: All persons in the United States (1) from a
           date two years prior to the filing of the initial complaint in this action
17
           to the date notice is sent to the Lend Tech Loans Class; (2) about
18         whom Lend Tech Loans obtained a consumer report; (3) where the
           purported permissible purpose for obtaining the consumer report was
19
           the same as the purported permissible purpose that was claimed to
20         obtain Plaintiff’s consumer report.
21         UDS Class: All persons in the United States who (1) from a date two
           years prior to the filing of the initial complaint in this action to the
22
           date notice is sent to the UDS Class; (2) received a letter from UDS
23         substantially similar to Ex. A; (3) about whom UDS obtained a
           consumer report; and (4) where the purported permissible purpose for
24
           obtaining and using the consumer report was the same as the
25         purported permissible purpose that was claimed to obtain Plaintiff’s
           consumer report.
26
           36.    Excluded from the Classes are (1) Defendants, Defendants’ agents,
27
     subsidiaries, parents, successors, predecessors, and any entity in which Defendants
28
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 1   or their parents have a controlling interest, and those entities’ officers and directors,
 2   (2) the Judge or Magistrate Judge to whom this case is assigned and the Judge’s or
 3   Magistrate Judge’s immediate family, (3) persons who execute and file a timely
 4   request for exclusion, (4) persons who have had their claims in this matter finally
 5   adjudicated and/or otherwise released, and (5) the legal representatives, successors,
 6   and assigns of any such excluded person. Plaintiff anticipates the need to amend the
 7   Complaint following a reasonable period for class discovery.
 8         37.    Numerosity: The exact numbers of the members of the Classes are
 9   unknown to Plaintiff at this time, but it is clear that individual joinder is
10   impracticable. On information and belief, Defendants have procured consumer
11   reports regarding thousands of individuals. Further, the class members can readily be
12   ascertained through Defendants’ records.
13         38.    Commonality: Common questions of law and fact exist as to all
14   members of the Classes for which this proceeding will provide common answers in a
15   single stroke based upon common evidence, including:
16         (a)    Whether Experian’s conduct described herein violated the FCRA;
17         (b)    Whether Lend Tech Loans’ conduct described herein violated the
18                FCRA;
19         (c)    Whether UDS’s conduct described herein violated the FCRA;
20         (d)    Whether Lend Tech Loans possessed any permissible purpose to obtain
21                Plaintiff’s and the Class Members’ consumer reports;
22         (e)    Whether UDS possessed any permissible purpose to obtain and use
23                Plaintiff’s and the Class Members’ consumer reports;
24         (f)    Whether Experian conducted a reasonable inquiry into the identity of
25                Lend Tech Loans or its purported permissible purpose; and
26         (e)    Whether Defendants have acted willfully.
27         39.    Typicality: As a result of Defendants’ uniform and repeated pattern of
28   providing, procuring, and using consumer reports absent any permissible purpose,
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 1   Plaintiff and the Class Members suffered the same injury and similar damages. If
 2   Defendants’ actions violated the FCRA as to Plaintiff, then they violated the FCRA
 3   as to all Class Members. Thus, Plaintiff’s claims are typical of the claims of the other
 4   Class Members.
 5         40.    Adequate Representation: Plaintiff is a member of the Classes and
 6   both he and his counsel will fairly and adequately represent and protect the interests
 7   of the Classes, as neither has interests adverse to those of the Class Members and
 8   Defendants have no defenses unique to Plaintiff. In addition, Plaintiff has retained
 9   counsel competent and experienced in complex litigation and class actions. Further,
10   Plaintiff and his counsel are committed to vigorously prosecuting this action on
11   behalf of the members of the Classes, and they have the financial resources to do so.
12         41.    Predominance: The common questions of law and fact set forth above
13   go to the very heart of the controversy and predominate over any supposed
14   individualized questions. Irrespective of any given Class Member’s situation, the
15   answer to whether Defendants’ conduct described herein repeatedly violated the
16   FCRA is the same for everyone—a resounding “yes”—and the same will be proven
17   using common evidence.
18         42.    Superiority and Manageability: A class action is superior to all other
19   methods of adjudicating the controversy. Joinder of all class members is impractical,
20   and the damages suffered by/available to the individual Class Members will likely be
21   small relative to the cost associated with prosecuting an action. Thus, the expense of
22   litigating an individual action will likely prohibit the Class Members from obtaining
23   effective relief for Defendants’ misconduct. In addition, there are numerous common
24   factual and legal questions that could result in inconsistent verdicts should there be
25   several successive trials. In contrast, a class action will present far fewer
26   management difficulties, as it will increase efficiency and decrease expense. Further,
27   class-wide adjudication will also ensure a uniform decision for the Class Members.
28
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 1         43.    Plaintiff reserves the right to revise the definition of the Classes as
 2   necessary based upon information obtained in discovery.
 3                                        COUNT I
                   Violation of 15 U.S.C. § 1681b, et seq. & § 1681e, et seq.
 4
                       (On Behalf of Plaintiff and the Experian Class)
 5
           44.    Plaintiff incorporates by reference the foregoing allegations as if fully
 6
     set forth herein.
 7
           45.    The FCRA declares that when furnishing consumer reports that are not
 8
     initiated by a consumer:
 9
           A consumer reporting agency may furnish a consumer report relating
10         to any consumer pursuant to subparagraph (A) or (C) or subsection
           (a)(3) in connection with any credit or insurance transaction that is not
11
           initiated by the consumer only if—
12
13                (A) the consumer authorizes the agency to provide such
                      report to such person; or
14
15                (B) (i) the transaction consists of a firm offer of credit or
                      insurance;
16
17                       (ii) the consumer reporting agency has complied
                         with subsection (e). . . .
18
19   15 U.S.C. § 1681b(c)(1)(A)-(B) (emphasis added).
           46.    Subsection (e) of the FCRA requires:
20
21         Every consumer reporting agency shall maintain reasonable
           procedures designed . . . to limit the furnishing of consumer reports to
22         the purposes listed under section 1681b of this title. These procedures
23         shall require that prospective users of the information identify
           themselves, certify the purposes for which the information is sought,
24         and certify that the information will be used for no other purpose.
25         Every consumer reporting agency shall make a reasonable effort to
           verify the identity of a new prospective user and the uses certified by
26         such prospective user prior to furnishing such user a consumer
27         report. No consumer reporting agency may furnish a consumer report
           to any person if it has reasonable grounds for believing that the
28
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 1         consumer report will not be used for a purpose listed in section 1681b
           of this title.
 2
 3   15 U.S.C. § 1681e(a) (emphasis added).
           47.    Plaintiff never authorized Experian to provide his consumer report to
 4
     Lend Tech Loans for any reason.
 5
           48.    On information and belief, Experian furnished Plaintiff’s consumer
 6
     report to Lend Tech Loans based on Lend Tech Loans representation that it intended
 7
     to use Plaintiff’s consumer report for the purpose of a firm offer of credit or
 8
     insurance.
 9
           49.    At no point did Lend Tech Loans possess any permissible purpose to
10
     obtain Plaintiff’s consumer report or any information contained therein.
11
           50.    Plaintiff does not have any relationship with Lend Tech Loans, has
12
     never conducted any business with Lend Tech Loans, and has never provided any
13
     authorization to Lend Tech Loans to obtain his consumer report.
14
           51.    Thus, Experian violated §1681b(c)(1) by providing Plaintiff Abbink’s
15
     consumer report to Lend Tech Loans absent any permissible purpose.
16
           52.    Likewise, Experian violated § 1681e(a) by failing to implement
17
     reasonable procedures to limit the furnishing of consumer reports for a permissible
18
     purpose. Moreover, Experian violated § 1681e(a) by failing to make a reasonable
19
     effort to verify the identity of Lend Tech Loans and the supposed permissible
20
     purpose for which the information was being sought.
21
           53.    Lend Tech Loans, while representing that it is a mortgage lender, does
22
     not possess any license to conduct any financial services. The National Multistate
23
     Licensing System (“NMLS”) and the California Department of Business Oversight
24
     license system are publically available for any person to search. A quick review of
25
     both systems reveals that Lend Tech Loans does not possess any license to conduct
26
     any financial services or mortgage lending or originating in the State of California.
27
           54.    Further, Lend Tech Loans does not engage in insurance underwriting.
28
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 1         55.    Additionally, Lend Tech Loans provided inaccurate information to
 2   Experian, which Experian then published on Plaintiff’s and the class members’
 3   consumer reports. That is, Lend Tech Loans provided a nonworking telephone
 4   number and a business address that does not match the current address on its
 5   California business filing.
 6         56.    Had Experian conducted a reasonable search to ascertain both the
 7   identity of Lend Tech Loans or its purported permissible purpose, it would have
 8   been aware of the litany of red flags.
 9         57.    Instead, Experian accepted Lend Tech Loans’ supposed permissible
10   purpose at face value.
11         58.    Moreover, on information and belief, Experian has accepted Lend Tech
12   Loans’ requests for class members student loan information on multiple occasions.
13         59.    Experian’s violation of 15 U.S.C. § 1681b(c)(1) was willful for at least
14   the following reasons:
15                (i)     The rule that consumer reports may only be obtained for a
16                        permissible purpose has been the law established for well over a
17                        decade;
18                (ii)    The rule that consumer reporting agencies must maintain
19                        procedures to limit the furnishing of consumer reports to only the
20                        purposes listed under Section 1681b of this title has also been the
21                        law for well over a decade;
22                (iii)   Experian is a large corporation who regularly engages inside and
23                        outside counsel—it had ample means and opportunity to seek
24                        legal advice regarding its FCRA responsibilities. As such, any
25                        violations were made in conscious disregard of the rights of
26                        others;
27                (iv)    Experian regularly engages in providing consumer reports to
28                        businesses, such as Lend Tech Loans, for the purpose of
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 1                        marketing their products goods and services. Accordingly,
 2                        Experian’s failure to implement reasonable procedures had a
 3                        wide spread effect; and
 4                (v)     Experian profited off the sale of Plaintiff’s and the class
 5                        members’ personal student loan information contained in
 6                        consumer reports on a repeated basis.
 7         60.    Plaintiff and the Experian Class are entitled to statutory damages of not
 8   less than $100 and not more than $1,000 for each of Experian’s willful violations
 9   pursuant to 15 U.S.C. § 1681n(a)(1)(A).
10         61.    Accordingly, under the FCRA, Plaintiff and the Experian Class seek
11   statutory damages, reasonable cost and attorneys’ fees, and such other relief as the
12   Court deems necessary, reasonable, and just.
13                                         COUNT II
                            Violation of 15 U.S.C. § 1681b(c), et seq.
14
                         (On Behalf of Plaintiff and the Experian Class)
15
           62.    Plaintiff incorporates by reference the foregoing allegations as if fully
16
     set forth herein.
17
           63.    The FCRA limits what information can be provided when furnishing
18
     consumer reports that are not initiated by a consumer stating:
19
           (2) Limits on information received under paragraph (1)(B)
20
           A person may receive pursuant to paragraph (1)(B) only—
21
                  (A) the name and address of a consumer;
22
                  (B) an identifier that is not unique to the consumer and
23                that is used by the person solely for the purpose of
24                verifying the identity of the consumer; and

25                (C) other information pertaining to a consumer that does
                  not identify the relationship or experience of the
26                consumer with respect to a particular creditor or other
27                entity.

28   15 U.S.C. § 1681b(c)(2) (emphasis added).

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 1         64.    On or around January 21, 2019, Experian provided Plaintiff’s and the
 2   Class Members’ consumer reports to Lend Tech Loans.
 3         65.    On information and belief, Experian provided the total sum of federal
 4   student loan debt that Plaintiff and each Class Member possesses.
 5         66.    The total sum of federal student loan debt directly identifies the
 6   relationship or experience of Plaintiff and the Class Members to a particular creditor
 7   or other entity. That is, federal student loan debt is owned/held by one creditor or
 8   entity, the U.S. Department of Education. Further, the federal student loans are
 9   provided for only one purpose, education expenses.
10         67.    Therefore, Experian provided Lend Tech Loans with information that
11   relates to Plaintiff’s and the Class Members’ relationship or experience with the U.S.
12   Department of Education, a specific creditor or entity, in violation of Section
13   1681b(c)(2)(C).
14         68.    These violations were willful in that Experian knew or should have
15   known its interpretation or evaluation/implementation of the law ran a risk of
16   noncompliance that was greater than simply a negligent reading.
17         69.    Plaintiff and the Experian Class are entitled to statutory damages of not
18   less than $100 and not more than $1,000 for each of Experian’s willful violations
19   pursuant to 15 U.S.C. § 1681n(a)(1)(A).
20         70.    Accordingly, under the FCRA, Plaintiff and the Experian Class seek
21   statutory damages, reasonable cost and attorneys’ fees, and such other relief as the
22   Court deems necessary, reasonable, and just.
23                                       COUNT III
                   Violation of 15 U.S.C. § 1681b, et seq. & § 1681e, et seq.
24
                   (On Behalf of Plaintiff and the Lend Tech Loans Class)
25
           71.    Plaintiff incorporates by reference the foregoing allegations as if fully
26
     set forth herein.
27
           72.    The FCRA provides that:
28
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 1         A person shall not use or obtain a consumer report for any purpose
           unless--
 2
 3         (1) the consumer report is obtained for a purpose for which the
           consumer report is authorized to be furnished under this section; and
 4
 5         (2) the purpose is certified in accordance with section 1681e of this
           title by a prospective user of the report through a general or specific
 6         certification.
 7   15 U.S.C. 1681b(f).
 8         73.   The FCRA further provides:
 9
           (1) Disclosure.--A person may not procure a consumer report for
10         purposes of reselling the report (or any information in the report)
11         unless the person discloses to the consumer reporting agency that
           originally furnishes the report--
12
13               (A) the identity of the end-user of the report (or
                 information); and
14
15               (B) each permissible purpose under section 1681b of this
                 title for which the report is furnished to the end-user of
16               the report (or information).
17
           (2) Responsibilities of procurers for resale.--A person who procures a
18         consumer report for purposes of reselling the report (or any
19         information in the report) shall--

20               (A) establish and comply with reasonable procedures
21               designed to ensure that the report (or information) is
                 resold by the person only for a purpose for which the
22               report may be furnished under section 1681b of this title,
23               including by requiring that each person to which the
                 report (or information) is resold and that resells or
24               provides the report (or information) to any other person--
25
                 (i) identifies each end user of the resold report (or
26               information);
27
28
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 1               (ii) certifies each purpose for which the report (or
                 information) will be used; and
 2
 3               (iii) certifies that the report (or information) will be used
                 for no other purpose; and
 4
 5               (B) before reselling the report, make reasonable efforts to
                 verify the identifications and certifications made under
 6               subparagraph (A).
 7   15 U.S.C. 1681e(e).
 8         74.    On or around January 21, 2019, Lend Tech Loans procured a consumer
 9   report regarding Plaintiff.
10         75.    In violation of Section 1681b(f), Lend Tech Loans did not possess any
11   permissible purpose to obtain a consumer report regarding Plaintiff or any of the
12   similarly situated class members.
13         76.    Further, to the extent that Lend Tech Loans procured the consumer
14   reports for the express purpose of resale, it violated Section 1681e(e) by failing to:
15   (1) implement reasonable procedures to ensure that consumer reports are only sold
16   or conveyed for a permissible purpose; (2) identify the end user(s) of the resold
17   report; and (3) conduct a reasonable search to ensure that the end user(s) of the
18   reports had a permissible purpose.
19         77.    Here, Lend Tech Loans conveyed Plaintiff’s and the class members’
20   consumer reports to UDS absent any permissible purpose.
21         78.    UDS is a document preparation company, which purports to assist
22   consumers with student loan consolidation.
23         79.    UDS, by its own admission, is not a financial institution, bank or lender
24   and does not underwrite loans.
25         80.    In short, had Lend Tech Loans conducted a reasonable search to
26   ascertain UDS’s purported purpose, it would have been clear that UDS possessed no
27   permissible purpose to obtain Plaintiff’s or any other class members’ consumer
28   reports.
     CLASS ACTION COMPLAINT                - 17 -
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 1         81.    Lend Tech Loans’s violations of 15 U.S.C. § 1681b(f) & § 1681e(e)
 2   were willful for at least the following reasons:
 3                (i)     The rule that consumer reports may only be obtained for a
 4                        permissible purpose has been the law established for well over a
 5                        decade;
 6                (ii)    Lend Tech Loans is a company that repeatedly engages in the act
 7                        of procuring consumer reports regarding consumers’ student loan
 8                        debt absent any permissible purpose;
 9                (iii)   Lend Tech Loans is a corporation that regularly engages
10                        counsel—therefore, it had ample means and opportunity to seek
11                        legal advice regarding its FCRA responsibilities. As such, any
12                        violations were made in conscious disregard of the rights of
13                        others;
14                (iv)    The rule that persons engaged in the resale of consumer reports
15                        maintain procedures to limit the furnishing of consumer reports to
16                        only the purposes listed under Section 1681b of this title has also
17                        been the law for well over a decade; and
18                (v)     Lend Tech Loans profited off the sale of Plaintiff’s and the class
19                        members’ personal student loan information on a repeated basis.
20         82.    Plaintiff and the Lend Tech Loans Class are entitled to statutory
21   damages of not less than $100 and not more than $1,000 for each of Lend Tech
22   Loans’ willful violations pursuant to 15 U.S.C. § 1681n(a)(1)(A).
23         83.    Accordingly, under the FCRA, Plaintiff and the Lend Tech Loans Class
24   seek statutory damages, reasonable cost and attorneys’ fees, and such other relief as
25   the Court deems necessary, reasonable, and just.
26                                       COUNT IV
27                          Violation of 15 U.S.C. § 1681b, et seq.
                          (On Behalf of Plaintiff and the UDS Class)
28
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 1            84.    Plaintiff incorporates by reference the foregoing allegations as if fully
 2   set forth herein.
 3            85.    The FCRA provides that:
 4
              A person shall not use or obtain a consumer report for any purpose
 5            unless--
 6
              (1) the consumer report is obtained for a purpose for which the
 7            consumer report is authorized to be furnished under this section; and
 8
              (2) the purpose is certified in accordance with section 1681e of this
 9            title by a prospective user of the report through a general or specific
10            certification.
     15 U.S.C. 1681b(f).
11
              86.    Plaintiff does not have any relationship with UDS, has never conducted
12
     any business with UDS, and has never provided any authorization to UDS to obtain
13
     his consumer report.
14
              87.    Regardless, UDS obtained and used Plaintiff’s and the class members’
15
     consumer reports absent any permissible purpose.
16
              88.    UDS admits, via the fine print on its own website, that it is not a
17
     financial institution, bank or lender and does not underwrite loans.4 Instead, UDS
18
     provides document preparation services for consumers who wish to refinance their
19
     student loans.
20
              89.    UDS’s document preparation service entails charging consumers a
21
     substantial fee to complete debt consolidation or forgiveness forms that are free and
22
     available via the U.S. Department of Education. Consumers can easily complete the
23
     student loan consolidation and forgiveness forms on their own (or with the assistance
24
     of the Dept. of Education or their loan servicer). Accordingly, the U.S. Department
25
     of Education warns student loan borrowers about companies, such as UDS, that do
26
     not provide any meaningful benefit to borrowers.
27
28   4
         https://www.unifieddocumentservices.com/
     CLASS ACTION COMPLAINT                   - 19 -
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 1         90.    To effectuate its questionable business practices, UDS obtained
 2   Plaintiff’s and the class members’ consumer reports from Lend Tech Loans absent
 3   any permissible purpose.
 4         91.    UDS then utilized the consumer reports to solicit Plaintiff and the class
 5   members’ to purchase its document preparation services.
 6         92.    UDS sent the notice styled “Student Loan Consolidation & Payment
 7   Reduction Program” to Plaintiff. (UDS Notice, Ex. A.)
 8         93.    The UDS Notices were filled with a litany of misleading information.
 9   That is, the UDS Notice informed Plaintiff that this was his “Final Notice” to
10   consolidate his student loans. (See UDS Notice, Ex. A.) The UDS Notice stated that
11   there were “New Laws Discounting Federal Student Loans.” (See Id.) Further, the
12   notice attempted to persuade consumers to create a Federal Student Aid ID and
13   provide it for UDS with their application. (See Id.)
14         94.    In short, UDS obtained and used Plaintiff’s and the class members’
15   consumer reports absent any permissible purpose in violation of Section 1681b(f).
16         95.    UDS’s violation of 15 U.S.C. § 1681b(f) was willful for at least the
17   following reasons:
18                (i)     The rule that consumer reports may only be obtained for a
19                        permissible purpose has been the law established for well over a
20                        decade;
21                (ii)    UDS is a company that repeatedly engages in the act of procuring
22                        consumer reports regarding consumers’ student loan debt absent
23                        any permissible purpose;
24                (iii)   UDS regularly engages in the act of utilizing consumer reports to
25                        solicit consumers to purchase its document preparation service—
26                        not a permissible purpose under the FCRA;
27                (iv)    UDS regularly engages counsel—therefore, it had ample means
28                        and opportunity to seek legal advice regarding its FCRA
     CLASS ACTION COMPLAINT                - 20 -
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 1                       responsibilities. As such, any violations were made in conscious
 2                       disregard of the rights of others; and
 3                (v)    UDS profited off the use of Plaintiff’s and the class members’
 4                       consumer reports on a repeated basis.
 5         96.    Plaintiff and the UDS Class are entitled to statutory damages of not less
 6   than $100 and not more than $1,000 for each of UDS’s willful violations pursuant to
 7   15 U.S.C. § 1681n(a)(1)(A).
 8         97.    Accordingly, under the FCRA, Plaintiff and the UDS Class seek
 9   statutory damages, reasonable cost and attorneys’ fees, and such other relief as the
10   Court deems necessary, reasonable, and just.
11                                       COUNT V
12                         Violation of 15 U.S.C. § 1681m, et seq.
                         (On Behalf of Plaintiff and the UDS Class)
13
           98.    Plaintiff incorporates by reference the foregoing allegations as if fully
14
     set forth herein.
15
           99.    The FCRA requires:
16
17         (1) Any person who uses a consumer report on any consumer in
           connection with any credit or insurance transaction that is not initiated
18         by the consumer, that is provided to that person under section
19         1681b(c)(1)(B) of this title, shall provide with each written solicitation
           made to the consumer regarding the transaction a clear and
20         conspicuous statement that—
21
                  (A) information contained in the consumer's consumer
22                report was used in connection with the transaction;
23
                  (B) the consumer received the offer of credit or insurance
24                because the consumer satisfied the criteria for credit
25                worthiness or insurability under which the consumer was
                  selected for the offer;
26
27                (C) if applicable, the credit or insurance may not be
                  extended if, after the consumer responds to the offer, the
28                consumer does not meet the criteria used to select the
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 1                  consumer for the offer or any applicable criteria bearing
                    on credit worthiness or insurability or does not furnish
 2                  any required collateral;
 3
                    (D) the consumer has a right to prohibit information
 4                  contained in the consumer's file with any consumer
 5                  reporting agency from being used in connection with any
                    credit or insurance transaction that is not initiated by the
 6                  consumer; and
 7
                    (E) the consumer may exercise the right referred to in
 8                  subparagraph (D) by notifying a notification system
 9                  established under section 1681b(e) of this title.

10         (2) Disclosure of address and telephone number; format
11
           A statement under paragraph (1) shall—
12
13                  (A) include the address and toll-free telephone number of
                    the appropriate notification system established under
14                  section 1681b(e) of this title; and
15
                    (B) be presented in such format and in such type size and
16                  manner as to be simple and easy to understand, as
17                  established by the Bureau, by rule, in consultation with
                    the Federal Trade Commission, the Federal banking
18                  agencies, and the National Credit Union Administration.
19
     15 U.S.C. § 1681m(d).
20
           100. This requirement is commonly referred to as an “Opt-Out Notice.”
21
           101. On information and belief, UDS obtained Plaintiff Abbink’s consumer
22
     report for the purported purpose of utilizing the report in connection of a credit
23
     transaction.
24
           102. On or around January 25, 2019, UDS sent a document entitled Student
25
     Loan Consolidation & Payment Reduction Program Prepared For: Bryce Abbink.
26
     (See UDS Notice, Ex. A.)
27
28
     CLASS ACTION COMPLAINT                 - 22 -
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 1         103. The UDS Notice attempted to solicit Plaintiff to purchase UDS’s
 2   services.
 3         104. The UDS Notice did not provide any form of Opt-Out Notice. (See
 4   UDS Notice, Ex. A.)
 5         105. Moreover, the UDS Notice did not inform Plaintiff or individuals
 6   similarly situated that they received the solicitation as a result of UDS obtaining their
 7   consumer report.
 8         106. In short, UDS’s failure to provide a proper Opt-Out Notice violates
 9   Section 1681m(d), and its failure to do so was willful for at least the following
10   reasons:
11                a. The rule that persons who utilize consumer reports in connection
12                   with credit transactions not initiated by the consumer has been
13                   settled law for well over a decade.
14                b. The Consumer Financial Protection Bureau has promulgated
15                   regulations and form notices that have been publically available
16                   since 2011. (See 12 C.F.R. § 1022.54; see also 12 C.F.R. Pt. 1022,
17                   App. C.) This readily-available guidance means UDS either was
18                   aware of its responsibilities or should have been aware of its
19                   responsibilities but ignored them and violated the FCRA anyway.
20                c. UDS is a company that regularly and repeatedly obtains consumer
21                   reports for targeted marketing purposes. UDS has had ample
22                   opportunity to seek legal advice regarding its FCRA responsibilities.
23                   As such, any violations were made in conscious disregard of the
24                   rights of others.
25         107. Plaintiff and the UDS Class are entitled to statutory damages of not less
26   than $100 and not more than $1,000 for each of UDS’s willful violations pursuant to
27   15 U.S.C. § 1681n(a)(1)(A).
28
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 1         108. Accordingly, under the FCRA, Plaintiff and the UDS Class seek
 2   statutory damages and reasonable cost and attorneys’ fees and such other relief as the
 3   Court deems necessary and just.
 4                                  PRAYER FOR RELIEF
 5         WHEREFORE, Plaintiff Bryce Abbink, individually and on behalf of the
 6   Classes, respectfully requests that this Court issue an order:
 7         A.     Certifying this case as a class action on behalf of the Classes defined
 8                above, appointing Bryce Abbink as class representative and appointing
 9                his counsel as class counsel;
10         B.     Finding that Defendants’ actions constitute repeated and willful
11                violations of the FCRA;
12         C.     Awarding damages, including statutory and treble damages where
13                applicable, to Plaintiff and the Classes in amounts to be determined at
14                trial;
15         D.     Awarding Plaintiff and the Classes their reasonable litigation expenses
16                and attorneys’ fees;
17         E.     Awarding Plaintiff and the Classes pre- and post- judgment interest, to
18                the extent allowable;
19         F.     Such further and other relief as the Court deems reasonable and just.
20                                       JURY DEMAND
21         Plaintiff requests a trial by jury of all claims that can be so tried.
22
23                                             Respectfully submitted,
24   Dated: June 21, 2019                      Bryce Abbink, individually and on behalf of
25                                             all others similarly situated,

26
                                       By:       s/ Aaron D. Aftergood
27                                             One of Plaintiff’s Attorneys
28
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